                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                                 )
                                                          )
 v.                                                       )      No. 3:06-CR-136
                                                          )      (Phillips)
 DWIGHT BRIGHT                                            )

                                           ORDER


        On the petition of defendant Dwight Bright, IT IS ORDERED that the Clerk of this
 Court be and hereby is instructed to issue a writ of habeas corpus ad testificandum to the
 Sheriff of Monroe County Jail, 319 Hickory Street, Madisonville, Tennessee 37354, to bring
 Melissa Waters, #00406380, before this Court at Knoxville, Tennessee, on April 24, 2007,
 at 9:00 a.m., as a witness before the trial in the above captioned matter, and to be returned
 to said Warden of Monroe County Jail, Madisonville, Tennessee, as soon as she is no
 longer needed as a witness before the said Federal Court.


        It is ORDERED that in the event the Sheriff of Monroe County Jail, Madisonville,
 Tennessee, so elects, the United States Marshal for the Eastern District of Tennessee, or
 any duly authorized United States Marshal, is directed to receive said Melissa Waters,
 #00406380 into his custody and transport her to and from said Monroe County Jail,
 Madisonville, Tennessee and this Court for the aforesaid purpose.


        And it is further ORDERED that pursuant to Rule 17(b) of the Federal Rules of
 Criminal Procedure that the process costs and witness fees will be paid in the same
 manner as those paid for witnesses the government subpoenas.



                                                   ENTER:

                                                   s/Thomas W. Phillips
                                                   United States District Judge




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